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                             UNITED STATES DISTRICT COURT
   13
                            CENTRAL DISTRICT OF CALIFORNIA
   14
   15
         MACOM TECHNOLOGY                          Case No. CV16-02859-CAS (GJSx)
   16    SOLUTIONS HOLDINGS, INC., a
         Delaware corporation, and                 NOTICE OF SETTLEMENT AND
   17    NITRONEX, LLC, a Delaware limited         JOINT MOTION TO STAY ALL
         liability company,                        DEADLINES
   18
                           Plaintiffs,
   19
               v.
   20
         INFINEON TECHNOLOGIES AG, a
   21    corporation organized under the laws of
         Germany, and INFINEON                     Hon. Christina A. Snyder
   22    TECHNOLOGIES AMERICAS
         CORP., a Delaware corporation, and,
   23
                           Defendants.
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    1         Plaintiffs MACOM Technology Solutions Holdings, Inc., and Nitronex,
    2   LLC, and Defendants Infineon Technologies AG and Infineon Technologies
    3   Americas Corp. (collectively, “the parties”) hereby notify the Court that the parties
    4   have executed an agreement to settle this litigation. The parties respectfully request
    5   that the Court grant a stay of all deadlines in the case through November 5, 2018, to
    6   allow time for the parties to take various actions necessary under the settlement
    7   agreement before they seek dismissal of the case.
    8
         Dated: October 16, 2018
    9
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